
ORDER
PER CURIAM
On consideration of the Board on Professional Responsibility’s Report and Recommendation, this court’s March 10, 2017, order directing respondent to show cause why she should not be suspended pending final action on the Board’s report, and the response of respondent wherein she does not oppose the imposition of an interim suspension, it is
ORDERED that Abigail Askew is hereby suspended from the practice of law in the District of Columbia pending final disposition of this proceeding. It is ■
FURTHER ORDERED that respondent’s attention is directed to the requirements of D.C. Bar R. XI, § 14 relating to suspended attorneys and D.C. Bar R. XI, § 16 (c), dealing with the timing of eligibility for reinstatement as related to compliance with R. XI, § 14, including filing of the required affidavit.
